Case 2:04-cV-02667-.]DB-tmp Document 66 Filed 07/26/05 Page 1 of 2 Page|D 77

IN THE UNITED STATEs DIsTRICT COURT md "
FOR THE WESTERN DISTRICT 0F TEI\INESSE§-,;;1 ;L;|_ 25 Pl--l ‘£' 37
WESTERN DIVISION

EDGAR MCDANIEL,

 

Plaintiff,
v. No. 04-2667-B/P

AMERICAN GENERAL FINANCIAL
SERVICES, INC., AMERICAN UNICORN,
INC. d/b/a HOME STORE COMPANY,
TRI-STATE TITLE &, ESCROW and
HAYSE NELSON,

Defendants .

AMENDED RULE 16(b) SCHEDULING ORDER

The following dates are established as the final dates for:
COMPLETING ALL DISCOVERY:
(a) DEP()SITIONS OR FACT WITNESSES: August 30, 2005
(b) EXPERT DISCLOSURE (Rule 26(a)(a):
(i) P]aintiff’s Experts: September 15l 2005
(ii) Defendant’s Experts: October 7 2005
(c) DEPOSITIONS OF EXPERTS: OQtober 28 2005
FILING DISPOSITIVE MOTIONS: November 11 2005

The trial of this matter is set for Jury Trial on §§me .'Z{ Q»OCQ , at 9:30 a.m. A
pretrial conference Will be conducted on &mg@¢ 9 ZM, at q.'.OO gm. A joint pretrial
order, jury instructions and motions in limine are due on [:_£LQQAQM e'l, é:.

Absent good cause shown, the scheduling d tes set by this order will not be modified or

 

 

 

extended

   

 

- ]_ DANIEL BREEN \
NIT D STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CV-02667 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

